                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    IN RE:                                       : CHAPTER 13
                                                 :
    JODI L. AUKER                                : CASE NO: 4:20-bk-00880-MJC
          Debtor                                 :


                          NOTICE TO CREDITORS AND OTHER
                               PARTIES IN INTEREST

            Notice is hereby given that the above-named Debtor(s) filed an Amended Motion
    to Modify Debtor’s Third Amended Plan and Fifth Amended Chapter 13 Plan on January
    17, 2024 in the United States Bankruptcy Court. Objections to said Fifth Amended Plan
    shall be filed with the:

                                  Clerk, U.S. Bankruptcy Court
                              The Sylvia H. Rambo US Courthouse
                                      1501 North 6th Street
                                     Harrisburg, PA 17102


            Objections to said Fifth Amended Plan shall be filed within twenty-one (21) days
    of the date of this Notice, prior to February 7, 2024. All Objections shall conform to the
    Federal Rules of Bankruptcy Procedure and shall be served upon counsel for Debtor and
    upon the Chapter 13 Trustee.

           The Fifth Amended Plan supersedes all previously filed plans. A copy of the
    Fifth Amended Plan is enclosed with this notice.

           If no objections are timely filed and properly served, the Court may enter an order
    granting the motion and approving the amended plan.

                                    James K. Jones, Esq.
                         Cunningham, Chernicoff & Warshawsky, P.C.
                                 2320 North Second Street
                               Harrisburg, Pennsylvania 17110
                                  [Attorney for Debtor(s)]


    Date of Notice: January 17, 2024




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